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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

In re Orly Genger,
                                                         Chapter 7
                     Debtor.
                                                         Case No. 19-13895-JLG


DALIA GENGER,
                           Plaintiff,                     Adv. P. No. 20-01010

-against-

ORLY GENGER, MICHAEL BOWEN, ARIE
GENGER, ARNOLD BROSER, DAVID BROSER,
ERIC HERSCHMANN, THE GENGER
LITIGATION TRUST, ADBG LLC, TEDCO INC.,
and DEBORAH PIAZZA as chapter 7 trustee,

                            Defendants.


                MOTION FOR SANCTIONS AGAINST DALIA GENGER
                  AND HER COUNSEL PURSUANT TO RULE 9011

       Pursuant to Rule 9011 of the Federal Rules of Bankruptcy Procedure, Eric D.

Herschmann and Michael Paul Bowen (together, “Movants”) move for sanctions against Dalia

Genger and her counsel, Paul Labov and his firm Pachulski Stang Ziehl & Jones LLP (together,

“Dalia”) for their frivolous “Motion To Reconsider” after this Court already allowed them to file

an amended complaint to try to cure their prior blatantly frivolous complaint.

                                        INTRODOCUTION

       Mr. Labov told the Court he welcomed a Rule 9011 motion. Mar. 19, 20201 Tr. at

118:14-16 (“Clearly, Mr. Herschmann doesn't want to give up the lien priority. Okay? And so if

that issue needs to be litigated, I welcome a Rule [90]11. That's fine.”) Movants bring that

motion now with respect to (i) Dalia’s Amended Complaint (ECF No. 8) and (ii) her new motion
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for reconsideration (ECF No. 45). In both filings, Dalia and her counsel make sanctionable false

claims against Movants. They have refused to withdraw these filings voluntarily. Pursuant to

Rule 9011, both filings should be stricken from the record, Dalia and her counsel should be

monetarily sanctioned, and movants should be awarded their costs and attorneys’ fees incurred

on this motion.

         As Judge Davis aptly noted at the beginning of this bankruptcy case, he did not “need a

linguistic algorithm to tell” him that various court filings signed by others were in fact ghost

written by Sagi’s lawyer, John Dellaportas. In re Orly Genger, W.D. Tx. Case No. 19-10926,

Oct. 24, 2019 Tr at 8:4-6. “Dalia’s” motion, which Mr. Labov submitted as his own argument,

to reconsider is so obviously a creation of Sagi’s lawyer that it is surprising that Mr. Dellaportas

did not just sign his own name. It has all the Sagi/Dellaportas rhetorical flourishes of bold and

italics and allegations that everyone “lied,” or “fraudulently concealed” or did some other terrible

harm to Sagi and his cohorts. Similar to his past baseless allegations, he/Dalia is wrong on every

front.

         The latest request that Dalia get a third bite at the apple to try again to amend her

complaint to fix her deficiencies is baseless, and therefore sanctionable. As to Herschmann,

Dalia could only muster this incoherent sentence to try to justify her request to reconsider her

complaint: “Instead, her lawyer/husband trumpeted the Court’s mistaken reliance on the

fraudulent affidavit as profoundly significant to the merits of the underlying trial (which Orly

subsequently went on to lose). See Doc. 419-8, pp. 72-76.”

         First, the cited transcript in no way supports the allegation about Herschmann

“trumpeting” a purported “fraudulent affidavit.” This is why “Dalia” does not quote any part of




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it in her motion.1 In reality, all Herschmann did was update JHO Gammerman about a ruling

that Justice Jaffe had recently issued quashing a subpoena to Mr. Broser, which is far from

improper. ECF No. 419-8 at 72:20-24 (“MR. HERSCHMANN: Your Honor, we just got a

notice Judge Jaffe that she quashed the subpoena that Mr. Dellaportas issued to David Broser and

the Broser Family regarding the settlement that happened subsequent to this fraud.”)

Herschmann took no position regarding Mr. Broser’s motion to quash, and did not “trumpet“ the

trial judge’s decision as to anything, let alone as “profoundly significant to the merits of the

underlying trial.” The representations of Dalia and her counsel are accordingly demonstrably

false. Of course, even if they were true, anything Herschmann said in court during the course of

litigation in connection with the representation of his client is definitively a form of protected

speech, protected by the litigation privilege, such that it could never form the basis of Dalia’s

false claims.

        Unsurprisingly, Dalia’s falsehood is almost a direct quote from another baseless and

improper filing made by Sagi against the Kasowitz firm, which the Court did not authorize to be

filed in the first place. Using similar language as in “Dalia’s” instant motion to reconsider, Sagi

previously stated essentially the exact same thing, but in place of “lawyer/husband,” the

Kasowitz law firm supposedly did the purported “trumpeting”:

        As for David Broser, Mr. Broser succeeded in quashing his subpoena based on an
        affidavit now known to be not just false, but brazenly so. The incident is
        described on pages 14-16 of Adv. Pro. 20-01010-jlg, Doc. 19… The only
        necessary addition to Doc. 19 is that the Kasowitz firm knew Mr. Broser’s
        affidavit was false, but despite their duties as officers of the Court, stood silently
        by while Broser’s lawyers promulgated falsehoods. Then, once the Court
        accepted those falsehoods, they trumpeted the ruling to JHO Gammerman as
        significant to the case at large. Exh. H 72-78.”

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  Moreover, contrary to what Dalia contends, Orly did not go on to lose the trial against Sagi. Rather, Sagi was
found liable of breaching his fiduciary duties to her, among other wrongdoing, which findings were unanimously
upheld by the New York Appellate Division. Orly Genger v. Dalia Genger, et al., 147 A.D.3d 443 (N.Y. App. Div.
2017). The damages portion of the case remains on appeal.


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ECF No. 419 at 20 (emphasis added). Sagi had no basis to support his claim against Kasowitz,

and Dalia has no basis to support her same claim against Herschmann. But that does not stop

her/Sagi from making it again. Moreover, Dalia’s “lawyer/husband” comment is also clearly

baseless considering it cannot be disputed the quotes that they rely upon in making their

frivolous argument were made before Herschmann was married to Orly.

       Further, as the Court will recall, Dalia, through counsel, had previously agreed in writing

to dismiss Herschmann and Bowen from the case in responding to the motions to dismiss (Dalia

Br., ECF No. 39, at 2 (“if they now wish to be excused from the case, Dalia has no objection, as

long as it can be assured that the Notes will not be alienated.”). However, during oral argument,

Mr. Labov reversed himself and his and Dalia’s prior written representations to the Court and

instead conditioned the dismissal of Herschmann on his waiving his security interest in the

bankruptcy estate in connection with his $2 million loan. See March 19, 2021 Tr. at 118:8-15.

Mr. Labov did agree at the argument, and the Court so-ruled, that Bowen is dismissed from the

case . Id. at 113:17 to 114:4.

                                         ARGUMENT

       Rule 9011 provides that in order to assert claims against an adversary in an adversary

proceeding, the claimant must have evidentiary support for the claims or a reasonable good faith

belief that evidentiary support will likely be obtained through discovery. See Fed. R. Bankr. P.

9011(b)(1) and (3). On January 22, 2020, Dalia filed an adversary proceeding against Movants

(and others), Dalia Genger v. Orly Genger, et al., Adv. Pro. No. 20-01010-JLG, for a declaratory

judgment and imposition of a constructive trust. The original complaint in the action made no

allegations of actionable conduct against either Movant at all. On May 18, 2020, Movants

served Dalia with a Rule 9011 motion based on the fact that her original pleading is wholly



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devoid of evidentiary support or any good faith basis. Instead of defending that indefensible

pleading, Dalia abandoned that bad faith pleading by filing an amended complaint on June 7,

2020. ECF Doc. No. 8 (the “Compl.”). The amended complaint fixed nothing. It is self-

evidently baseless and therefore sanctionable under Rule 9011.

       Thereafter, Dalia agreed in her opposition to movant’s motion to dismiss to withdraw all

claims against Bowen and Herschmann, and the Court did dismiss Bowen from the case during

the March 19, 2021 argument on their motion to dismiss. Dalia has now walked this back by

way of her frivolous motion to reconsider, despite having failed to include any allegations which

support her claims against Herschmann or Bowen in the amended complaint, and though she has

absolutely no basis to seek any relief against them at all.

I. DALIA’S FALSE CLAIMS CONCERNING MICHAEL BOWEN

       The Complaint and the motion to reconsider contain the following allegations concerning

Bowen, all of them are false and have no evidentiary support or good faith basis:

1. “Bowen holds the Trump Notes as an agent of Orly.” Compl. ¶ 4, see id. ¶ 23.

       There is no even conceivable basis for this claim. Bowen holds the notes as agent for the

“AG Group,” not Orly, as the relevant documentation states. The AG Group is comprised of

Orly Genger, her father (Arie Genger) and two other individuals and their corporate entities, as

set forth in the notes and the June 2013 Settlement Agreement pursuant as to which the notes

were issued. This is set forth on the face of settlement agreement and the notes, as amended,

which are attached hereto as Exhibit A.

2. “As Orly’s attorney involved in the relevant events, Bowen knew of Dalia’s interest in the
   Trump Notes prior to taking possession thereof.” Compl. ¶ 4.

       Bowen does not, nor could he, “know” of “Dalia’s interest” since she has no adjudicated

interest in the notes, only an as-yet unadjudicated (and baseless) claim to have an interest – a



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claim that is contradicted by Bowen’s former client, the Debtor Orly Genger. Bowen, moreover,

“possesses” the notes only as the escrow agent for the AG Group as payee of the notes. See Ex.

A. He did not “take possession” of the notes in the sense of having or claiming a pecuniary

interest based on a claim of possession, ownership or otherwise.

       Moreover, Bowen did not know or begin to represent Orly until January 2015, in

connection with a state court fraud action against Sagi Genger captioned Orly Genger v. Sagi

Genger, N.Y. County Index No. 100697/2008. The settlement agreement and notes were

negotiated and executed two years before this, and the attorney representing the AG Group at the

time was named as the escrow agent for the AG Group. Ex. A. It was not until 2017 when the

settlement agreement was amended that Bowen became the escrow agent for the AG Group. Id.

Bowen accordingly had no “involve[ment] in the relevant events” whatsoever.

3. “Bowen falsely testified under oath and falsely represented to various courts (a) that Orly has
   nothing to do with either the Trump Notes or an additional $17.3 million that Orly received
   from the Rights, and (b) that no written agreement exists with respect to the disposition of the
   proceeds of the Trump Notes.” Compl. ¶ 4. See also Mot. to Reconsider at 8 n. 1 (“Mr.
   Bowen, fraudulently concealed the existence of her March 31, 2017 Escrow Agreement…”)

       This claim is made in bad faith, with no conceivable reasonable basis. Bowen testified as

the corporate representative for his law firm, Kasowitz Benson Torres LLP, at a deposition taken

by Sagi in connection with post-judgment discovery in the action captioned Dalia Genger v. Sagi

Genger, S.D.N.Y. Case No. 17-cv-8181. In that deposition, Bowen, as representative of the

firm, provided testimony about facts known to the firm, including Orly’s legal position that she

has nothing to do with the Notes or the “additional $17.3 million,” that she is entitled to no

proceeds in connection with those Notes or funds, and that she has no written agreement

allocating the proceeds among the members of the AG Group. Bowen testified truthfully that his

law firm is aware of no such written agreement. Moreover, no evidence exists to contradict the

legal position as to the Notes taken consistently by Orly throughout all the related litigations.


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She has never received a penny of any of the Notes proceeds or of the “additional $17.3 million,”

and has never made any claim to that money. Further, and as was confirmed at the trial on the

motion to dismiss this bankruptcy, no document exists that contradicts her legal position,

including the March 2017 agreement referenced by Dalia. Dalia and her counsel have no proof

to the contrary or any reasonable basis to believe evidence to the contrary exists. Likewise, the

assertion that Bowen fraudulently concealed the March 2017 agreement at the deposition is a

patent falsehood. The questioner never asked about that agreement. Nor was the topic of that

agreement (the relative priority of repayment of the Herschmann Note and the ADBG debt) even

raised at the deposition.

       No member of the Bar should so-lightly repeatedly accuse another member in good

standing of intentional falsehood, much less falsely testifying under oath or making false

representations to the courts. To do so, repeatedly, in utter bad faith, as Dalia and her counsel

have done here, should be severely reprimanded with sanctions.

4. “The Trump Notes were secretly and fraudulently transferred to Bowen, and the future
   proceeds thereof fraudulently encumbered, in purported satisfaction of false liabilities and for
   no consideration to Orly.” Compl. ¶ 40.

       The Notes were not transferred to Bowen, as even Dalia and her counsel must be aware

and are charged with knowing on the ground that they must have done at least minimally

competent due diligence. Bowen serves as escrow agent for the “AG Group,” which is

comprised of multiple individuals and entities, as set forth in the notes and the settlement

agreement pursuant to which the notes were issued. Ex. A. Additionally, Bowen became the

escrow agent for the AG Group not in secret, but pursuant to a duly authorized written

amendment to the settlement agreement which was executed in 2017 by all of the members that

comprise the AG Group. Id. This amendment was produced to Sagi Genger long before this




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bankruptcy proceeding began, in connection with post-judgment discovery in Case No. 17-cv-

8181, at Bates No. KBT_17cv8181_jdgmt_0000010.

       All of these circumstances were made crystal clear to Dalia and the Court, including

during the March 19, 2021 hearing on the motions to dismiss. Dalia has no basis to seek any

relief whatsoever against Bowen.

II.   DALIA’S FALSE CLAIMS CONCERNING ERIC HERSCHMANN

       The Complaint and the motion to reconsider contain the following allegations concerning

Herschmann, and all of them are false and have no evidentiary support or good faith basis:

1. “Eric claims to have an interest in the Trump Notes, which interest was created after
   Eric became aware of Dalia’s interest therein.” Comp. ¶ 7. “Eric claims an interest in
   Orly’s assets including the Trump Notes as evidenced by a UCC lien he filed in 2017.
   Eric’s lien is void because the debt it purports to secure is wholly contrived and false.”
   Comp. ¶ 26.

       Dalia has no interest in the notes, which were issued in connection with the 2013

settlement agreement and which on their face are payable to the AG Group. Ex. A. Dalia is not

a member of the AG Group. Id.

       Dalia also has no basis to claim that the $2 million loan from Herschmann is not real.

Two members of the AG Group, Arie Genger and Orly Genger, borrowed $2 million from

Herschmann pursuant to a secured promissory note dated December 30, 2016. At their direction,

the $2 million was wired to Kasowitz Benson Torres LLP to cover a portion of Orly Genger’s

outstanding legal bills at that time. A copy of the wire transfer confirmation reflecting the

payment on account of the loan is attached hereto as Exhibit B. No evidence contradicts this; nor

can Dalia have a reasonable expectation to develop such evidence in discovery. It is a hard fact

that the $2 million loan was made, the funds transferred and that the terms are reflected in a loan

agreement signed by the relevant parties. None of this has anything to do with “Dalia’s interest”

claim in the Notes.


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        In connection with the loan and promissory note, Herschmann obtained a security interest

in all of the borrowers’ tangible and intangible assets, as reflected in numerous public UCC

filings. These UCC filings provide a lien against the notes in that Arie claims to be entitled to

the notes proceeds. To that extent (and to the extent that, contrary to Orly’s legal position, she is

adjudicated to be an owner of the Notes proceeds in whole or in part), Herschmann has a valid

interest therein. Again, this is incontestable, as Dalia well knows.

2.   “Eric knew of Dalia’s interest in the Trump Notes prior to asserting his interest therein
     because he materially participated in the events that led to their creation.” Comp. ¶ 7

        As stated above, Dalia has no interest in the notes. See supra; Ex. A. Additionally,

Herschmann had no involvement whatsoever in the “events that led to the[] creation” of the

notes. The notes were issued in 2013. Ex. A. Herschmann and KBT began representing Orly

Genger in January 2015 in connection with a state court fraud action against Sagi Genger

captioned Orly Genger v. Sagi Genger, N.Y. County Index No. 100697/2008, two years after the

settlement agreement and notes were created. Dalia has not evidentiary support and no good

faith basis to claim evidence will support her patently false claim that Herschmann had any

involvement in the creation of the notes or, indeed, in the underlying subject settlement

agreement.

3. “Eric asserted to Courts on various occasions that Orly has never had an interest in the
   Trump Notes or the $17.3 million realized from Orly’s monetization of the Rights, most
   recently in a letter to Judge Garrity. That assertion was made despite contrary written
   recitations in the March 2017 escrow agreement that he executed.” Comp. ¶ 7. “Eric
   also asserts a claim against the Trump Notes through the March 2017 escrow
   agreement. That agreement was executed after Dalia’s constructive trust and/or
   equitable lien came into being with Eric’s full knowledge of the events that led to it.”
   Comp. ¶ 26.

        As noted above, Dalia has no evidentiary basis to claim, contrary to Orly’s own legal

position, that Orly has an “interest” in the notes.




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        Dalia’s citation to the March 2017 agreement is not evidence to the contrary. Nothing in

that agreement is proof of any kind that Herschmann made knowingly false statements about

Orly’s lack of interest in the notes.

4. Eric “was aware of the events that created Dalia’s constructive trust and/or equitable
   lien as he personally represented Orly before Judge Forrest in 2014 and thereafter
   married her.” Comp. ¶ 26.

        Dalia has no interest in the 2013 settlement agreement or the notes issued pursuant

thereto. See supra; Ex. A. Additionally, Herschmann did not begin to represent Orly Genger

until January 2015, in the case captioned Orly Genger v. Sagi Genger, N.Y. County Index No.

100697/2008. This is a matter of record.

        Further, in the case before Judge Forrest, the Second Circuit held that the determination

regarding Orly’s so-called “monetization” attributable to her allocation of TRI shares was that

Orly necessarily received more than a “peppercorn,” such that consideration supported the 2004

agreement between Orly and Sagi. Genger v. Genger, 663 F. App’x 44, 49 (2d Cir. 2016). That

decision, too, is no evidentiary support for Dalia’s claim that Herschmann somehow was

“aware” Dalia had an “interest” in the notes.

5. “Eric’s liens are at the very least a constructive fraud as against Orly and/or Dalia and
   therefore void.” Comp. ¶ 26.

        First, there is no such thing as “constructive fraud.” Second, this complaint brought by

Dalia cannot purport to assert any cause of action on behalf of Orly Genger. Third, Dalia alleges

none of the elements of a fraud claim, which would have required Herschmann to make a false

representation of material fact to Dalia, on which Dalia reasonably relied, which caused damage

to Dalia. Dalia fails to plead any of these elements in the Complaint.




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6. Herschmann “trumpeted” matters to the state court. Mot. to Reconsider at 9.

       As stated above, this entire concept was lifted directly from an equally frivolous (and

unauthorized) filing by Sagi. In any case, the transcript in question makes crystal-clear that

Herschmann did not “trumpet” anything. Rather, he informed JHO Gammerman that the state

court judge had in fact quashed one of the many subpoenas Sagi had served, which is far from

improper. See ECF No. 419-8 at 72:20-24. All of Herschmann’s statements are also definitively

protected by the litigation privilege.

III. THIS MOTION IS TIMELY BROUGHT AND PROCEDURALLY PROPER

       This motion was served twenty-one days before it was filed. By failing to withdraw the

Complaint as against Movants, Dalia and her attorneys are in breach of Rule 9011 and should be

sanctioned, including dismissal of the action and awarding attorneys’ fees to Movants. The

award of fees should be against both Dalia as client and her counsel, who is ethically required to

ensure compliance with this rule. Fed R. Bankr. P. 9011(c). See In re Gorshtein, 285 B.R. 118,

125 (Bankr. S.D.N.Y. 2002); In re Hudson, No. 00-11683, 2010 WL 3504767, at *5 (Bankr.

N.D.N.Y. Aug. 30, 2010) (affirming imposition of Rule 9011 sanctions on attorney-litigant); In

re R & J Ventures, Inc., No. 07-61325, 2007 WL 4287715, at *3-4 (Bankr. N.D.N.Y. Dec. 4,

2007) (confirming sanctions can be imposed on both parties and their attorneys) (citing Oliveri v.

Thompson, 803 F.2d 1265, 1271 (2d Cir. 1986)).

                                         CONCLUSION

       For the foregoing reasons, the Rule 9011 motion should be granted in its entirety, the

complaint in the Dalia adversary proceeding and the motion for reconsideration should be

stricken, and the Court should award Movants attorneys’ fees and costs, against both Dalia and




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her counsel, which Movants have incurred in having to bring this motion and respond to the

frivolous motion to reconsider.


Dated: August 29, 2021

By: /s/ Eric D. Herschmann                   GLENN AGRE BERGMAN & FUENTES
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